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          under duress to have the Pences adopt their five previously named children.
          The adoption involved the Interstate Compact on the Placement of Children
          (ICPC). Christina Cordero and Francisco Cordero remained legal custodians
          for their three remaining children. They have a          -year-old autistic
          boy,         (ph), a    -year-old boy,       (ph), and a      -     -old
          boy,        (ph).

             The Pences had 11 biological children. After they adopted the Cordero’s
          children, they had 16 legal children. Three of their biological children
          were in college. Christopher Pence’s parents also lived with them.
          Michelle Pence, some of the Pence’s children, and Christopher Pence’s mother
          had health issues. Christopher Pence worked in internet security for
          Microsoft. During the COVID-19 pandemic, Christopher Pence’s job
          transitioned to being completely remote which meant he could work
          exclusively from home. After Christopher Pence’s job went remote, the
          Pences moved from Washington, where they were born and raised, to Hawkins,
          Texas (TX).

             An agreement between the Corderos and the Pences allowed the Corderos to
          have an ongoing relationship with the adopted children. The adoption
          agreement provided two five-day visits per year for the Corderos to be with
          the children. Christina Cordero, Francisco Cordero, and their three legal
          children moved to Dallas, TX to be closer to their adopted children and
          maintain an ongoing relationship. Dallas was one and one-half hours from
          Hawkins, TX. The Pences moved from Hawkins, TX to Utah, US because of the
          scorpion infestation at their Hawkins, TX home.

             After the Pence’s moved to Utah, the Cordero’s decided to move back to
          the northeastern United States because without their adopted children nearby
          there wasn’t anything keeping them in Texas anymore. The Corderos and their
          legal children moved to Christina Cordero’s father’s childhood home at
                                                    The house sat on 90 acres. They
          lived there because they were unable to obtain housing on their own. The
          Pence’s knew the Hoosick Falls address where the Cordero’s lived. Christina
          Cordero did not know the specific home address of the Pence’s Utah home
          because they were no longer on good terms with the Pences. The Pences set
          up a Post Office (P.O.) Box address and gave that information to the
          Cordero’s.
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          [Agent Note: At this point in the interview, Christina Cordero verbally
          provided interviewing Agents with the P.O. Box for the Pence Family.]

             The relationship between the Corderos and the Pences deteriorated after
          the adoption was finalized. The five-day visits twice per year turned into
          two-day visits twice per year. The Pences always had a problem with
          Francisco Cordero, but Christina Cordero did not understand why. Francisco
          Cordero engaged in questionable forms of discipline, including biblical
          spanking, in which Francisco Cordero hit the children too hard. They chose
          to stop that form of discipline and instead use cold showers. Francisco
          Cordero also had inappropriate conversations with girls. The Corderos were
          up front with the Pences about their family issues.

             Christina Cordero had a dispute with the Pences. Michelle Pence posted a
          picture on her public blog which depicted Michelle Pence’s premature baby at
          the zoo. Christina Cordero’s friends brought it to Christina Cordero’s
          attention because the premature baby appeared to be positioned awkwardly and
          in such a way that was blocking the baby’s airway. Christina Cordero spoke
          to her therapist about the picture. Christina Cordero believed that her
          therapist felt it was concerning enough to report to child protective
          services in the area where the Pences lived. Christina Cordero had a
          conversation with Michelle Pence about the picture. Christina Cordero told
          Michelle Pence that she spoke about it with her therapist, and her therapist
          reported it to child protective services. Michelle Pence did not agree with
          Christina Cordero about the picture or the report to child protective
          services. Christina Cordero told Michelle Pence that she should be careful
          what she posts on the internet because it may look different from what
          actually happened. Christina Cordero later learned that her therapist did
          not act on the information that Christina Cordero provided during therapy,
          but rather decided to look the post up on the internet to view it for
          herself. After she viewed the post, the therapist felt it needed to be
          reported to child protective services. Christina Cordero also learned that
          child protective services did not act on the information reported by the
          therapist. The Pences blamed Christina Cordero for the reporting.

             After the disagreement over the blog post, the only way that the Pences
          communicated with the Corderos was by email via Google Duo.   The Pence’s
          won’t allow the Corderos in the same room as the children. The Pences told
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          Christina and Francisco Cordero that they were a threat to the children.
          The Pences were advised by their attorneys at the Heritage Defense to not
          leave their children alone with the Corderos, to not allow the Cordero’s to
          take any pictures, and not to allow the Cordero’s to come to their house.
          The Heritage Defense were the same lawyers that the Pences and the Corderos
          used in the adoption. Michelle Pence continued communication with Christina
          Cordero’s mother, Amy, via text message.

          [Agent Note: At this point in the interview, Christina Cordero verbally
          provided interviewing Agents with the Google Duo group information.]

             Christina Cordero’s therapist said the Corderos had a case to get their
          children back. In May of 2020, the Pences became aware that the Corderos
          wanted their children back, and that they had a case to get them back.
          Christina Cordero did not want her biological children with anyone except
          the Pences unless it was the back with her and Francisco Cordero.

             When the adoption process began, Christina Cordero had complete trust and
          confidence in the Pences. Christina Cordero did not trust the Pences as
          much as she did previously. Christina Cordero could not believe the Pence’s
          would harm her and Francisco Cordero, but she doesn’t know who else would.

             In 2016, Francisco Cordero and his step-brother, Fay, had an incident in
          New Britain, Connecticut. Fay was a drug dealer, and during the
          confrontation between Fay and Francisco Cordero, Francisco Cordero was
          terrified. Fay disliked Francisco Cordero, but Christina Cordero does not
          believe he wanted to bring them harm because they have not had contact with
          Fay since 2017. Edwin Navarro is Francisco Cordero’s estranged father.
          Navarro lives on            in

             Christina Cordero, Christina Cordero’s parents, Francisco Cordero, and
          their three remaining children were meeting the Pences in Salt Lake City,
          Utah on September 18, 2021 and September 19, 2021 for one of the two yearly
          visits with their children. Christina, her children, and her parents were
          driving, and Francisco Cordero was flying down to meet them. The last
          communication that the Corderos had with the Pences was via email on Monday,
          August 30, 2021

          [Agent Note: At this point in the interview, Christina Cordero verbally
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          provided interviewing Agents with a telephone numbers for Christopher Pence,
          Michelle Pence, and Robin Pence.]



          Address

            .



          Contact Information

          The Corderos and the Pences Google Duo group:                     -
                                     .



          Telephone Numbers

          Name: Christopher Pence

          Telephone Number:         -    -



          Name: Michelle Pence

          Telephone Number:         -    -



          Name: Robin Pence

          Telephone Number:         -    -
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                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       09/28/2021



           Francisco Cordero, date of birth                was interviewed at his
        residence,                                             (            cellular
        telephone number             . After being advised of the identity of the
        interviewing Agents and the nature of the interview, Francisco Cordero
        provided the following information:

           Francisco Cordero was from New Britain, Connecticut (CT). Francisco
        Cordero started having problems with pornography when he was 13 years old.
        He watched it at school, on computers, and on phones. In 2004, he joined
        Job Corp. When he was 17 years old, he moved to Chicopee, Massachusetts
        (MA). Francisco Cordero considered Chicopee, MA his hometown. In 2006, he
        met his wife, Christina Cordero at Our Father’s House Ministry Center in
        Chicopee, MA. Francisco and Christina Cordero had eight children.

           The Massachusetts Department of Children & Families (DCF) believed that
        Francisco Cordero looked at child pornography and showed pornography to his
        children. Francisco Cordero told DCF that he viewed pornography on his
        phone where his children could not see it. Christina Cordero and Francisco
        Cordero sent their children to Maine while they worked through their
        issues. Christina Cordero wanted Francisco Cordero to stop his behavior.
        DCF also believed Francisco Cordero abused their son,         (ph).
        Christina Cordero told Francisco Cordero they needed to pick a family she
        met on Facebook to take care of their children while they worked through
        their issues and dealt with the court for accusations of abuse. The
        Corderos chose the Pence family. The Corderos kept three of their children:
              (ph),        (ph), and

           Michelle Pence, the mother in the Pence family, and Christina Cordero
        figured out the guardianship agreement. Both the Corderos and the Pences
        were Christian. The Pences knew Francisco Cordero had issues. The Corderos
        made an agreement for the Pences to take guardianship for five of the




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   by   Brian M. DeCarr
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          Cordero’s children while Christina Cordero and Francisco Cordero dealt with
          DCF and tried to figure things out between themselves. When DCF learned
          about the surrenders that the Corderos signed giving guardianship to the
          Pences, they contacted the Pences. The Pences knew what DCF believed about
          Francisco Cordero.

             Francisco Cordero texted married women on Facebook. He had sexual
          relations with three different single women when he lived in Chicopee, MA
          and while he was in a relationship with Christina Cordero. One of the women
          was named Jackie (ph), and he had sex with her at work. Jackie had a
          boyfriend. Francisco Cordero had sex with another woman in a van behind a
          school at night. Francisco Cordero had sex with a third woman by the
          Chicopee River. When Christina Cordero found out she was disgusted and felt
          disrespected.

             When at home, Francisco Cordero watched pornography on his phone, in his
          house, or in his car. He mostly masturbated in his room or in a parking
          lot. He did not have router or internet service at his house. When they
          watched television or Netlfix at home, they used a hotspot on their phone
          with their 4G service. Francisco Cordero tried logging into the Dark Web by
          searching Dark Web in Google, but he was unsuccessful. The most shocking
          pornography that Francisco Cordero watched was bestiality. Francisco
          Cordero unintentionally viewed child pornography on the INFJ Facebook page.
          Francisco Cordero was disgusted by the child pornography, and he and other
          members of the INFJ Facebook page told the person that posted the child
          pornography to take it down. Francisco Cordero never viewed child
          pornography on purpose. Francisco Cordero no longer used Facebook.

             Francisco Cordero sought therapy for addictions to pornography and sex.
          Francisco Cordero had never been arrested. The people that knew about
          Francisco Cordero’s addictions were Christina Cordero, Christina Cordero’s
          parents, his mother, his father, his former pastor, other leaders at the Our
          Father’s House Ministry, and the Pences. Christina Cordero told Francisco
          Cordero that he needed to choose between his addictions to pornography and
          sex and his children. Francisco Cordero chose his addictions. Christina
          Cordero wanted their children to stay with the Pences.

             The agreement the Corderos made with the Pences was going well, but, over
          time, their relationship and the agreement they made regarding the adopted
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          children deteriorated. The Pences wanted to limit their time with the
          Corderos. When the Pences and the Corderos lived in Texas, they Pences did
          not want Francisco Cordero with the children. The Pences moved to Utah, and
          they did not tell the Corderos their new address. The Pences provided a
          P.O. Box to the Corderos to send mail. The Corderos moved to New York in
          April or May of 2021. The Pences knew where the Corderos lived because they
          received packages from the Corderos to their P.O. Box. Christina Cordero’s
          mother and father knew where Christina and Francisco Cordero lived. The
          Corderos former pastor from the Our Father’s House Ministry Center in
          Chicopee, MA knew where the Corderos lived. Francisco Cordero’s family knew
          where the Corderos lived, except his father, Edwin Navarro Senior.
          Francisco Cordero had not spoken to Edwin Navarro Senior in three years.
          Francisco Cordero and his father, Edwin Navarro Senior, did not see eye-to-
          eye.

             Francisco Cordero flirted with Edwin Navarro Junior’s wife. Edwin
          Navarro Junior was Francisco Cordero’s step-brother. Edwin Navarro Junior
          was in the gang-life. Edwin Navarro Junior was looking for him. Edwin
          Navarro Junior called and said he wanted to kill him. Francisco Cordero had
          not heard from Edwin Navarro Junior since 2017 or 2018.

             The Corderos and the Pences engaged in email arguments that included open
          communication mixed with no correspondence. The Corderos emailed the Pences
          many times trying to see the children again, but the Pences were reluctant.
          The Pences agreed to allow visits with the children with conditions. Some
          of the conditions were that they could not be alone with the children,
          written letters would be read in front of everyone, and they could not
          convince the children to come home with the Corderos. Additional conditions
          could be read in an email the Pences sent to the Corderos.

             The Pences sent DCF to the Cordero’s house. The Cordero’s adopted
          children claimed to the Pences that the Corderos abused them. The adopted
          children said the Corderos spanked, hit them with rods, and called them
          names. The Pences claimed that Francisco Cordero engaged in sexually
          predatory behavior by staring at his children in the shower. Christopher
          Pence, the father in the Pence family, told Christina Cordero that Francisco
          Cordero had a pornography addiction and would touch the children.
          Christopher Pence did not want Francisco Cordero spending time with the
          children. Christopher Pence wanted nothing to do with Francisco and
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          Christina Cordero.

             The Pences took an awkward picture of their newborn baby at the zoo, and
          they posted it on the internet. Christina Cordero saw the picture, and she
          spoke with her therapist it. After Christina Cordero told her therapist
          about the picture, the therapist placed a call to child services in the area
          where the Pences lived. After the picture was posted, the Pences treated
          Christina Cordero like an enemy. Francisco Cordero wanted to confront
          Christopher Pence about it, but Christina Cordero did not want him to do
          that.

             Francisco Cordero asked his adopted children if they wanted to come home
          with the Corderos, and that made the Pences mad. Francisco Cordero did not
          tell the Pences that they wanted the children back, but the children told
          the Pences what Francisco asked them. Christopher Pence told the Corderos
          that the adopted children do not want to see the Corderos. The Corderos
          adopted children were being emotionally and psychologically abused by the
          Pences.

             Christopher Pence worked in cyber security. Christopher Pence had a team
          that built a firewall, and the next team would break it. The process was
          repeated. Christopher Pence was the only one Francisco Cordero thought that
          could set up the hit to have Christina and Francisco Cordero killed.
          Christopher Pence had the knowledge to do it because of his knowledge of
          computers. He could have used computers to remain anonymous.
